           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 1 of 8 Page ID #:1503



                     1    MORGAN, LEWIS & BOCKIUS LLP
                          James J. Dragna (SBN 91492)
                     2    jim.dragna@morganlewis.com
                          Denise Gail Fellers (SBN 222694)
                     3    denise.fellers@morganlewis.com
                          300 South Grand Avenue, 22nd Floor
                     4    Los Angeles, CA 90071-3132
                          Tel: +1.213.612.2500
                     5    Fax: +1.213.612.2501
                     6    Attorneys for Plaintiffs
                          BKK WORKING GROUP, an unincorporated
                     7    association, and certain of its individual
                          members
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                     9
                                             UNITED STATES DISTRICT COURT
                    10
                                            CENTRAL DISTRICT OF CALIFORNIA
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                    12
                          BKK WORKING GROUP;                     Case No. 2:18-cv-05810-MWF-PLA
                    13    ANADARKO E&P ONSHORE
                    14    LLC; ATLANTIC RICHFIELD                Hon. Michael W. Fitzgerald
                          COMPANY; ASHLAND LLC.;
                    15    BAYER CROPSCIENCE INC.;                STATUS REPORT
                          BHPI SERVICE LLC; THE
                    16    BOEING COMPANY;
                    17    CALIFORNIA RESOURCES
                          CORPORATION; CHEVRON
                    18    ENVIRONMENTAL
                          MANAGEMENT COMPANY;
                    19    CHEVRON MARINE PRODUCTS
                          LLC; CITY OF LOS ANGELES,
                    20    ACTING BY AND THROUGH
                    21    THE LOS ANGELES
                          DEPARTMENT OF WATER AND
                    22    POWER; CONOCOPHILLIPS
                          COMPANY; CROSBY &
                    23    OVERTON, INC.; THE DOW
                    24    CHEMICAL COMPANY;
                          DUCOMMUN
                    25    AEROSTRUCTURES, INC.;
                          ESSEX CHEMICAL
                    26    CORPORATION; EXXON MOBIL
                          CORPORATION; GEMINI
                    27    INDUSTRIES, INC.; GENERAL
                    28    DYNAMICS CORPORATION;
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           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 2 of 8 Page ID #:1504



                    1    CHEMICAL CORPORATION; HP
                         INC. (FORMERLY KNOWN AS
                    2    HEWLETT-PACKARD
                    3    COMPANY); AMERICAN
                         HONDA MOTOR CO., INC.;
                    4    HUNTINGTON BEACH
                         COMPANY; LOCKHEED
                    5    MARTIN CORPORATION;
                    6    MARS, INC. (FORMERLY
                         KNOWN AS KAL KAN FOODS
                    7    INC.); MONTROSE CHEMICAL
                         CORPORATION OF
                    8    CALIFORNIA; MORTELL
                         COMPANY; MORTON
                    9    INTERNATIONAL, INC.;
                   10    NATIONAL STEEL AND
                         SHIPBUILDING COMPANY;
                   11    NORTHROP GRUMMAN
                         SYSTEMS CORPORATION; OXY
                   12    USA, INC.; QUEMETCO, INC.;
                   13    ROCKWELL AUTOMATION,
                         INC.; ROHM & HAAS
                   14    COMPANY; ROHR, INC.; SAN
                         DIEGO GAS & ELECTRIC
                   15    COMPANY; SMITH
                         INTERNATIONAL, INC.;
                   16    SOUTHERN CALIFORNIA
                   17    EDISON COMPANY;
                         SOUTHERN CALIFORNIA GAS
                   18    COMPANY; STAUFFER
                         MANAGEMENT COMPANY
                   19    LLC; THE PROCTER &
                   20    GAMBLE MANUFACTURING
                         COMPANY; THUMS LONG
                   21    BEACH COMPANY; UNION
                         CARBIDE CORPORATION;
                   22    UNION PACIFIC
                         RAILROAD/SOUTHERN
                   23    PACIFIC TRANSPORTATION
                   24    COMPANY; UNITED STATES
                         STEEL CORPORATION;
                   25    UNITED TECHNOLOGIES
                         CORPORATION; UNIVAR USA
                   26    INC.; AND AMERON
                   27    INTERNATIONAL
                         CORPORATION,
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           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 3 of 8 Page ID #:1505



                    1                            Plaintiffs,
                    2                      vs.
                    3    1700 SANTA FE LTD, et al.,
                    4                            Defendants.
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                        DB3/ 202811376.2
           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 4 of 8 Page ID #:1506



                     1            In accordance with the Court’s July 18, 2018 Order granting Plaintiffs’
                     2   Motion to Stay and Extend the Time to Serve Defendants (Docket 11), Plaintiffs
                     3   submit the following Status Report:
                     4   I.       BACKGROUND
                     5            A.        The BKK Class I Landfill
                     6            This matter arises from the BKK Class I Landfill; a landfill located in West
                     7   Covina, California and operated by BKK Corporation and/or other third parties, and
                     8   owned by BKK Corporation from approximately 1973 through the present.
                     9   Between approximately 1969 and 1984, the BKK Class I Landfill accepted
                    10   manifested waste for disposal. The BKK Class I Landfill ceased accepting all
                    11   waste in 1987, at which time BKK Corporation began to undertake landfill closure
                    12   and post-closure activities. In 2004, BKK Corporation notified the State of
                    13   California that it would not be financially capable of continuing its post-closure
                    14   care of the BKK Class I Landfill. The BKK Working Group is an unincorporated
                    15   association of approximately 50 potentially responsible parties whose members are
                    16   addressing conditions at the BKK Class I Landfill under three separate consent
                    17   decrees reached with the State of California, as described below.
                    18            B.        Members Of The BKK Working Group Have Entered Into Three
                                            Separate Consent Decrees with the State of California to Investigate
                    19                      the BKK Class I Landfill
                    20            On October 31, 2005, the State of California filed a lawsuit against certain
                    21   members of the BKK Working Group, captioned Cal. Dep’t of Toxic Substances
                    22   Control v. Am. Honda Motor Co., Inc., No. 05-CV-00746 (C.D. Cal.), and
                    23   concurrently lodged with the Court a proposed Consent Decree between itself and
                    24   certain members of the BKK Working Group (hereinafter referred to as the “First
                    25   Consent Decree Action”). On March 9, 2006, the Court entered the First Consent
                    26   Decree, which among other things, obligated certain members of the BKK Working
                    27   Group to perform certain environmental response actions at the BKK Class I
                    28   Landfill.
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                         DB3/ 202811376.2
           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 5 of 8 Page ID #:1507



                    1            The State filed a second lawsuit against certain members of the BKK
                    2   Working Group on May 5, 2010, captioned Cal. Dep’t of Toxic Substances Control
                    3   v. Am. Honda Motor Co., Inc., No. 10-CV-03378 (C.D. Cal.), and concurrently
                    4   lodged a proposed Second Consent Decree between itself and certain members of
                    5   the BKK Working Group (hereinafter referred to as the “Second Consent Decree
                    6   Action”). The Court entered the Second Consent Decree on August 10, 2010,
                    7   which, among other things, obligates certain members of the BKK Working Group
                    8   to continue to perform certain environmental response actions and to conduct an
                    9   Engineering Evaluation/Cost Analysis (“EE/CA”) for the BKK Class I Landfill.
                   10            On February 2, 2015, the State filed a third complaint against certain
                   11   members of the BKK Working Group, captioned Cal. Dep’t of Toxic Substances
                   12   Control v. Am. Honda Motor Co., Inc., No 15-CV-00729 (C.D. Cal.), again for the
                   13   purpose of seeking judicial approval of a consent decree (hereinafter referred to as
                   14   the “Third Consent Decree Action”), which the State lodged concurrently with the
                   15   filing of the third complaint. The Court entered the Third Consent Decree on July
                   16   24, 2015, which, among other things, obligates certain members of the BKK
                   17   Working Group to continue to perform certain environmental response actions at
                   18   the BKK Class I Landfill and conduct a groundwater Remedial Investigation and
                   19   Feasibility Study (“RI/FS”).
                   20            Currently, all three Consent Decree Actions are before the Honorable Judge
                   21   Pregerson.
                   22   II.      STATUS OF INVESTIGATION OF THE BKK CLASS I LANDFILL
                   23            The members of the BKK Working Group are continuing to work
                   24   cooperatively with the State of California. In accordance with the Consent Decrees
                   25   described above, the members of the BKK Working Group are conducting the
                   26   “Essential Activities” at the BKK Class I Landfill, which include the day to day
                   27   operation and maintenance at the Class I Landfill. The members of the BKK
                   28   Working Group are also undertaking investigations of the Class I Landfill
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                        DB3/ 202811376.2
           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 6 of 8 Page ID #:1508



                    1   consisting of both an EE/CA and a groundwater RI/FS. At this time, the field work
                    2   associated with the EE/CA is completed, the members of the BKK Working Group
                    3   recently addressed DTSC’s comments on the draft EE/CA Report and submitted a
                    4   final draft EE/CA Report to DTSC. As for the RI/FS, the members of the BKK
                    5   Working Group have conducted field work for the RI/FS in accordance with the
                    6   accelerated field task work plans and are working with DTSC on finalizing the
                    7   submittal of data from this field work and drafting the next series of work plans.
                    8   III.     STATUS OF LITIGATION
                    9            On March 21, 2019, this Court entered a further stay and extension of time to
                   10   serve the complaint until July 20, 2020. It is anticipated that during this time,
                   11   Plaintiffs and the State of California will finalize a comprehensive settlement
                   12   package for potentially responsible parties at the Class I Landfill, including the
                   13   defendants. The status of these potential settlements is described more fully in
                   14   Section IV below.
                   15            Since this action was filed, Plaintiffs have entered into 175 tolling
                   16   agreements with defendants and are planning to or have dismissed these defendants
                   17   without prejudice from this lawsuit (all defendants refused to sign tolling
                   18   agreements before the suit was filed). Plaintiffs are in ongoing negotiations with a
                   19   number of other defendants about dismissing such defendants without prejudice if
                   20   they sign a tolling agreement; and Plaintiffs are sending out on a rolling basis
                   21   written requests to all other defendants that Plaintiffs have located advising them
                   22   that if they sign a tolling agreement, Plaintiffs will dismiss them without prejudice
                   23   from the lawsuit. Plaintiffs should complete this process in the next month.
                   24   IV.      STATUS OF POTENTIAL SETTLEMENTS
                   25            The members of the BKK Working Group, including Plaintiffs, are working
                   26   cooperatively with the State of California to develop a comprehensive settlement
                   27   package for potentially responsible parties at the Class I Landfill, including the
                   28   defendants. While Plaintiffs and the State have made significant progress in
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                        DB3/ 202811376.2
           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 7 of 8 Page ID #:1509



                    1   developing this settlement package, it is not yet finalized. Both Plaintiffs and the
                    2   State are hopeful that the settlement package will be finalized in the coming
                    3   months, at which time Plaintiffs and the State intend to send the settlement package
                    4   to thousands of potentially responsible parties, including the defendants, in an
                    5   organized and systematic fashion. In order to ensure that the State can timely
                    6   respond to all potentially responsible parties, the State and Plaintiffs expect to send
                    7   the settlement packages out in waves over the course of a few years.
                    8            There are several benefits to including the State in settlements with
                    9   defendants. The most important reason being that doing so allows settling
                   10   defendants to obtain the settlement protections generally provided by the
                   11   government in CERCLA settlements, such as contribution protection (thereby
                   12   providing an added incentive for defendants to settle in lieu of engaging in active
                   13   litigation). For this reason, Plaintiffs continue to believe that it benefits everyone,
                   14   including defendants, to continue to work cooperatively with the State in
                   15   developing this settlement package.
                   16   V.       STATUS OF RELATED CASE
                   17            On July 3, 2018, Plaintiffs filed a related case, captioned BKK Working
                   18   Group, et al. v. Albertsons Companies, Inc., et al., Case No. 2:18-CV-05836, which
                   19   is currently pending before Judge Birotte in the Central District Court of California.
                   20   This related case also is stayed until July 20, 2020. This case involves the same
                   21   questions of law and fact, the same plaintiffs, and seek the same relief against a
                   22   separate set of defendants, so substantial judicial efficiency would be achieved by
                   23   having these nearly identical cases before the same Court. The operative First
                   24   Amended Complaints in both cases (collectively, “Complaints”) assert identical
                   25   causes of action based on identical facts. The Plaintiffs in both cases are also the
                   26   same, with a few minor exceptions, and include the BKK Working Group, an
                   27   unincorporated association of approximately fifty entities. In both actions, the
                   28   Plaintiffs seek to require the named defendants to pay their fair share of
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                        DB3/ 202811376.2
           Case 2:18-cv-05810-MWF-PLA Document 24 Filed 07/15/19 Page 8 of 8 Page ID #:1510



                    1   investigation and remediation costs regarding the BKK Class I Landfill. The only
                    2   material difference between the Related Actions is the defendants’ identities.
                    3            Plaintiffs believe that the transfer of the two related cases to the same Court
                    4   is in the best interests of all parties and the Court.1 Doing so will dispense with the
                    5   need for two different judges to address the same issues, allow the Related Actions
                    6   to be managed by the same judge, ensure consistent rulings and actions, and
                    7   promote overall judicial convenience and efficiency.
                    8   VI.      CONCLUSION
                    9            In accordance with the July 18, 2018 and March 21, 2019 Orders, the
                   10   Plaintiffs will submit the next Status Report by October 14, 2019, unless the Court
                   11   directs otherwise.
                   12
                   13       Dated: July 15, 2019                       MORGAN, LEWIS & BOCKIUS LLP
                   14
                   15                                                  By /s/ Denise G. Fellers
                   16                                                     James J. Dragna
                                                                          Denise Gail Fellers
                   17                                                     Attorneys for Plaintiffs

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                   28     If the Court believes it is necessary, Plaintiffs will file a Request to Transfer the
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                        related cases to the same Court.
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